   Case 4:17-cr-00262-WTM-CLR Document 115 Filed 03/29/18 Page 1 of 1

                                                                     FILED
                                                              U.S. DISTRICT COURT
                                                                 SAVANNAH DIV.
               IN THE UNITED STATES DISTRICT COURT

                                                             20IBMflR29 PM 3: 10
               FOR THE SOUTHERN DISTRICT OF GEORGIA

                                                            CLERK-
                           SAVANNAH DIVISION
                                                                SO. DISlfiFGA.


THE UNITED STATES OF AMERICA,


              Plaintiff,

                                            4:17CR262


ANIMASHAUN COLE,


              Defendant,




                              ORDER




     Coiinsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters raised in the parties'       motions have    been resolved by

agreement. Therefore, a hearing in this case is deemed unnecessary.




     SO ORDERED, this ^^^^day of March, 2018.



                                UNITED'^TATES MAGISTRATE JUDGE
                                SOUTHERN DISTRICT OF GEORGIA
